
The Court, after conferring on the subject, entered the following judgment:
“1. The Court are unanimously of opinion, and doth decide, that the offices of a Deputy Clerk of a County Court, and of a Justice of the Peace of the same county, are incompatible.
‘ ‘2. It is unnecessary to decide the second question, because the Court is unanimously of opinion, and doth decide, that, whether the acceptance of the office of Deputy Clerk of a County Court, vacates the office of a Justice of the Peace of the same county, or not, in this Case, the Superior Court ought not to make a rule on the Justices to shew cause why a Writ of Mandamus should not issue to admit the Plaintiff to execute the office of Justice of the Peace, and that the said Court ought not to grant a peremptory Mandamus.” (Chew v. The Justices of Spottsylvania, ante, p. 208.)
